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                                           #45011


                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS


 In re: PARAQUAT PRODUCTS                           Case No. 3:21-md-3004-NJR
 LIABILITY LITIGATION
                                                    MDL No. 3004
 This Document Relates to All Cases



                       ORDER ADOPTING SPECIAL MASTER’S
                        REPORT AND RECOMMENDATION

ROSENSTENGEL, Chief Judge:

       Pending before the Court is a Report and Recommendation filed by Special Master Randi

S. Ellis on March 20, 2025, pertaining to 117 member cases that are subject to dismissal due to

noncompliance with Case Management Order No. 10 (“CMO 10”). (Doc. 5571). The Special

Master recommends that these cases be dismissed without prejudice due to Plaintiffs’ failure to

comply with their production obligations under CMO 10.

       Case Management Order No. 10

       On October 27, 2021, the Court issued CMO 10 to “govern[] the implementation of the

Plaintiff Assessment Questionnaire (“PAQ”)” in this multidistrict litigation. (Doc. 469). CMO 10

requires all Plaintiffs to complete a PAQ and serve it upon Defendants within 30 days of their

complaint being entered on the docket. If a Plaintiff fails to comply with this deadline, CMO 10

implements a notification process by which Defendants are required to send Plaintiff’s counsel a

Notice of Overdue PAQ. The receipt of a Notice of Overdue PAQ triggers a 30-day grace period

for a Plaintiff whose PAQ is overdue. If, after the expiration of the grace period, the Plaintiff still

has not completed the PAQ or cured a material PAQ deficiency, Defendants may seek review by

the Special Master. Once the Special Master becomes involved, a Plaintiff has 10 days to either

(a) substantially complete and serve the PAQ upon Defendants; or (b) submit an opposition to


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Defendants’ request for review demonstrating “good and justified cause” for the delinquency.

After this additional 10-day period expires, the failure to cure or justify the noncompliance with

CMO 10 subjects the Plaintiff’s case to dismissal without prejudice.

        Defendants initiated the CMO 10 review process with respect to the 117 cases identified

in the Special Master’s Report and Recommendation. The Special Master found that “none of the

Plaintiffs or their Representatives . . . has served a PAQ, nor has any Plaintiff . . . demonstrated

good cause or justified cause for failing to timely submit a PAQ.” (Doc. 5571). Thus, the Special

Master recommends that these cases be dismissed without prejudice.

        The Court received one objection to the Report and Recommendation from Plaintiff

Brenda Rush 1 (Case No. 3:24-pq-02541), whose case is subject to dismissal (the “Rush Action”).

Rush’s counsel explained that he experienced some difficulties reaching his client, and that this

caused a delay in her PAQ submission. (Doc. 5577). The Court agrees with Rush that dismissal of

her case would waste judicial resources because she would be permitted to—and indeed would—

simply refile a new action in this MDL. As such, dismissal of the Rush Action is not warranted.

        The Court thus ADOPTS the Special Master’s Report and Recommendation (Doc. 5571)

in part. See FED R. CIV. P. 53(f). All cases listed in Exhibit A of the Report and Recommendation,

except for the Rush Action, are DISMISSED without prejudice pursuant to CMO 10.

        IT IS SO ORDERED.

        DATED: June 2, 2025


                                                           ____________________________
                                                           NANCY J. ROSENSTENGEL
                                                           Chief U.S. District Judge




1 Ms. Rush appears individually and as personal representative of the estate of Douglas Roark, deceased.



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